 

Case 4:18-cV-00573 Document 27 Filed in TXSD on 01/11/19 Page 1 of 2

United States Courts
Southem District of Texas

UNITED STATES DISTRICT COURT F ' L E D
FOR THE SOUTHERN DISTRICT OF TEXAS JAN 11 201§
HOUSTON DIVISION

David J. Brad|ey, Clerk of Court
CURTIS WIGGINS

VS. Civil Action No. 4:18-cv-00573

JURY DEMAND

@WJ@W>@WJ

GOLDEN CORRAL CORPORATION
NOTICE OF FILING RULE 11 AGREEMENT
Please take note that Plaintiff Curtis Wiggins in the above-entitled and numbered
cause, and files this Rule 11 Agreement Letter attached as Exhibit “A” pursuant to the
Federal Rules of Civil Procedure.

Respectfully Subrnitted,

By: /s/ Curtis Wiggjns
Pro Se

11850 Bissonnet, No. G371
Houston, Texas 77099
281-908-8142

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August 28, 2018

Curtis Wiggins

11850 Bissonnet #6371
Houston, Texas 77099
Pro Se

Elimb€fh “LiSa” MRSS€y Imassey@germer,com
Federal Bar No. 613924

'l`exas Bar No. 24031872

2929 Allen PaIkWBy, Sllit€ 2900

Re: Civil Action No. 4:18-cv-00573; Curtis Wiggins v. Golden Corral Corporation; In

United States District Court for the Southern Distriet of Texas. Houston Division:
GG#94519.

RULE ll AGREEMENT

 

Dear Ms. Massey:

Please sign below to indicate your agreement that the deadline for Plaintiff. Curtis
Wiggins to tile Amcndmei to Plcading, due August 27. 20| 8. be extended to August 28.

201 8. ._.. 513 YQ
The joining of New Parties to be enter at another time if deemed necessary - w

I would greatly appreciate the courtesy of this extension h a w

If you are in agreement please sign where indicated and return to me for filing with a m ' n
the court. Thank you for this professional courtesy

 
 
   

Sincerely.

AGREED; /"/ '_ . -

    
 

E izabeth ` .
Federal Bar No. 613924
Texas Bar NO. 24031 872

2929 Allen Parkway, Suite 2900

